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UNITED STATES BANKRUPTCY COURT
DISTRICT OF VIRGINIA

Alexandria Division

Case No. 23-11315

In Re. GMS Sunset, LLC §
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§
Debtor(s) §
CZ Jointly Administered
Monthly Operating Report Chapter 11
Reporting Period Ended: 09/30/2023 Petition Date: 08/17/2023
Months Pending: 1 Industry Classification:[ 5 [ 3 | 1] 1 |
Reporting Method: Accrual Basis Cash Basis @
Debtor's Full-Time Employees (current): 0
Debtor's Full-Time Employees (as of date of order for relief): 0

Supporting Documentation (check all that are attached):

(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

Statement of cash receipts and disbursements

Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
Statement of operations (profit or loss statement)

Accounts receivable aging

Postpetition liabilities aging

Statement of capital assets

Schedule of payments to professionals

Schedule of payments to insiders

All bank statements and bank reconciliations for the reporting period

Description of the assets sold or transferred and the terms of the sale or transfer

ORMOOOOOOOO

/s/ George Cholakis George Cholakis

Signature of Responsible Party Printed Name of Responsible Party
11/27/2023
Date

1142 Elden Street, Ste. 224, Herndon, VA 20170
Address

STATEMENT: This Periodic Report is associated with an open bankruptcy case: therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name GMS Sunset, LLC Case No. 23-11315

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a. Cash balance beginning of month $57

b. Total receipts (net of transfers between accounts) $0 $0
c. Total disbursements (net of transfers between accounts) $0 $0
d. Cash balance end of month (atb-c) $57

e. Disbursements made by third party for the benefit of the estate $0) $0
f. Total disbursements for quarterly fee calculation (c+e) $0 $0
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a. Accounts receivable (total net of allowance) $70,200

b. Accounts receivable over 90 days outstanding (net of allowance) $70,200

c. Inventory (Book(~ Market (~ Other @ (attach explanation) $0

d= Total current assets $70,200

e. Total assets $1,341,937

f. Postpetition payables (excluding taxes) $4,810

g. Postpetition payables past due (excluding taxes) $0

h. Postpetition taxes payable $0

i. Postpetition taxes past due $0

j. Total postpetition debt (f+h) $4,810

k. Prepetition secured debt $239,000

|, Prepetition priority debt $7,000

m. Prepetition unsecured debt $44,500

n. Total liabilities (debt) (j+k+l+m) $295,310

o. Ending equity/net worth (e-n) $1,046,627

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a. Total cash sales price for assets sold/transferred outside the ordinary

course of business $0 $0
b. Total payments to third parties incident to assets being sold/transferred
outside the ordinary course of business $0 $0
c. Netcash proceeds from assets sold/transferred outside the ordinary
course of business (a-b) $0 $0
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On fel eterna cel hwmrey eevitersle) om CUm Ceiba elem Bleu Ceemmbetcem ita eeu a
a. Gross income/sales (net of returns and allowances) $0
b. Cost of goods sold (inclusive of depreciation, if applicable) $0
c. Gross profit (a-b) $0
d. Selling expenses $0
e. General and administrative expenses $0
f. Other expenses $0
g. Depreciation and/or amortization (not included in 4b) $0
h. Interest $0
i. Taxes (local, state, and federal) $0
j. Reorganization items $0
k. Profit (loss) $0 $0

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Debtor's Name GMS Sunset, LLC Case No. 23-11315

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Current Month} Cumulative Month Cumulative

a. Debtor's professional fees & expenses (bankruptcy) Aggregate Total $0 $0 $0 $0

Itemized Breakdown by Firm

Firm Name Role
i Nathan Fisher Lead Counsel $0 $0 $0 $0

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Debtor's Name GMS Sunset, LLC Case No, 23-11315

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Debtor's Name GMS Sunset, LLC Case No. 23-11315

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Current Month} Cumulative Month Cumulative

b. Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total $0

Itemized Breakdown by Firm

Firm Name Role
i $0

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Debtor's Name GMS Sunset, LLC Case No, 23-11315

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Debtor's Name GMS Sunset, LLC Case No, 23-11315

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All professional fees and expenses (debtor & committees)

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a. Postpetition income taxes accrued (local, state, and federal) $0 $0
b. Postpetition income taxes paid (local, state, and federal) $0 $0
c. Postpetition employer payroll taxes accrued $0 $0
d. Postpetition employer payroll taxes paid $0 $0
e. Postpetition property taxes paid $0 $0
f. Postpetition other taxes accrued (local, state, and federal) $0 $0
g. Postpetition other taxes paid (local, state, and federal) $0 $0

Were any payments made on prepetition debt? (if yes, see Instructions) Yes No@
Were any payments made outside the ordinary course of business YeseC No@
without court approval? (if yes, see Instructions)
Were any payments made to or on behalf of insiders? YesC No @
Are you current on postpetition tax return filings? Yes No@
Are you current on postpetition estimated tax payments? Yes No@
Were all trust fund taxes remitted on a current basis? YesC No@
Was there any postpetition borrowing, other than trade credit? YessC No@
(if yes, see Instructions)
Were all payments made to or on behalf of professionals approved by Yes Nol NAC
the court?
Do you have: Worker's compensation insurance? YesC No
If yes, are your premiums current? YesC NoC N/A @ (if no, see Instructions)
Casualty/property insurance? Yes(@ Nol
If yes, are your premiums current? Yes@ NoC N/AC (if no, see Instructions)
General liability insurance? Yes@ No
If yes, are your premiums current? Yes(@ NoC N/AC (ifno, see Instructions)
Has a plan of reorganization been filed with the court? YesC No@
Has a disclosure statement been filed with the court? YesC No@
Are you current with quarterly U.S. Trustee fees as YesC No@

set forth under 28 U.S.C. § 1930?

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Debtor's Name GMS Sunset, LLC Case No. 23-11315

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a. Gross income (receipts) from salary and wages $0
b. Gross income (receipts) from self-employment $0
c. Gross income from all other sources $0
d. Total income in the reporting period (at+b+c) $0
e. Payroll deductions $0
f. Self-employment related expenses $0
g. Living expenses $0
h. All other expenses $0
i. Total expenses in the reporting period (e+f+g+h) $0
j. Difference between total income and total expenses (d-i) $0
k. List the total amount of all postpetition debts that are past due $0

|. Are you required to pay any Domestic Support Obligations as defined by 11 YesC No@
U.S.C § LOI(14A)?
m. If yes, have you made all Domestic Support Obligation payments? YesC NoC NAC

Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006), A copy of the notice may be obtained at the following link: http://
www. justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).

I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate,

/s/ George Cholakis George Cholakis

Signature of Responsible Party Printed Name of Responsible Party
Corporate Designee 11/27/2023

Title Date

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Speak to a dedicated business solutions expert

GMS SUNSET LLC t 1-888-755-2172 —a stop number for
at 1-888-755- —a one-stop num
ELDEN ST. both your business and personal needs.

HERNDON VA 20170

ACCOUNT SUMMARY FOR PERIOD SEPTEMBER 13, 2023 - SEPTEMBER 29, 2023

GMS SUNSET LLC

Business Basic Checking 00005720597944

Previous Balance 09/13/23 $0.00 Number of Days in Cycle 17
0 Deposits/Credits $0.00 Minimum Balance This Cycle $0.00
0 Checks/Debits $0.00 Average Collected Balance $0.00
Service Charges $0.00
Ending Balance 09/29/23 $0.00

ACCOUNT DETAIL FOR PERIOD SEPTEMBER 13, 2023 - SEPTEMBER 29, 2023

Business Basic Checking 00005720597944 GMS SUNSET LLC

Date Description Deposits/Credits Withdrawals/Debits Resulting Balance
09/13 $0.00
No Account Activity this Statement Period
09/29 $0.00
Total $0.00 $0.00 -
No Items Processed
Thank you for banking with us. PAGE 1 OF 2

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What should | do if | find an error or problem on my statement?

In case of error or questions about your electronic transfers telephone us at 1-888-755-2172 or write us at Capital
One, N.A., 7933 Preston Rd. Plano, Texas 75024, Attn: Customer Service Center as soon as you can, if you think your
statement or receipt is wrong or if you need more information about a transfer on the statement or receipt.

For small business accounts: Please refer to your Electronic Fund Transfer Agreement/Disclosure for additional
information.

For consumer accounts: We must hear from you no later than 60 days after we sent you the FIRST statement on which

the error or problem appeared.
1. Tell us your name and account number (if any).
2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe itis

an error or why you need more information.
3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do
this, we will credit your account for the amount you think is in error, so that you will have the use of the money during

the time it takes us to complete our investigation.

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PSI: 0/ SHC: 0/ LOB :S
